EXHIBIT A

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 1 of 18 Page|D #: 7

 

 

 

STATE OF TENNESSEE COURT mm b¢ compl¢m) COUNTY/mm a¢_
Circuit m,,,,,;,,¢d) Mchnn
file no. 698(»&.'3
SUMMCNS (Mu:t be complaed)

division
a¢nzl¢dunu¢:anbd

 

 

Plain tiff (Nm¢.- tlrsr, Mmdl¢, wo
Steven P. Stewar_t

 

 

De!`endant (Na»~¢.- nm. mdd)¢. 'L¢.»»)
ThyssenKrupp Waupaca, Inc.. ThyssenKrupp

waupaca Group_Benefit:s Plan,and Sun Life

Fi_q;unw;u-l-i¢aenrm:ce-emnpany-of-€aaad+_--~

 

TO: The Defen_dant Named Above

D [Alrernan‘ve l.' residence address]
ThysaenKrupp Waupaca by and through Officc of the Corporate

 

Secretary, ThysscnKrupp W§upaca, Inc. 1955 Brvnner brivej
waupaca, Wisconsfn 54981

G[Alrernative 2.‘ employer '.r name and address]

 

 

 

D[Ar`rernalivs 3.'orher suitable address ]

 

 

 

 

You arc hereby commanded to answer and make defense to a Complaint which has
been filed in this case. Your defense to this Complaint must be filed in the ofl'ice of the
clerk of this court on or before 30 days_af’ter service of this Summons upon you. If you
fail .to do so, judgment by default will be taken against you for the relief demanded in the

Complaint.

'L¢
wITNESsED and issued this &'l day of
20@1_

 

OWJ

 

 

 

al aj
,, Name and Title of Cleck
: By -
' ~-~»~~ ~- _;.;' Deputy Clcrk
Received this day
of , 20
/s/
Deputy Sheriff

 

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 2 of 18

Page|D #: 8

STATE OF TENNESSEE
COUNTY OF inc al § ga

l certify that the foregoing is a true and correct copy of the original Summons

issued in this case.
%N€I‘* ()¢YD{¢¢H,; OMMCM
`Name and 'I`it_le of Clerk

Byx@w}-,~ Q?Mrn;/

Deputy Clerk

OFFICER’S RETURN

l certify that l have served this Summons together with the Complaint as follows:

On , 20 , l delivered a copy of the
Summons and Complaint to the Defendant.

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 3 of 18 Page|D #: 9

 

S'TATE OF TENNESSEE COURT'(MH:! be compl¢!¢oy C oUN TY(MWI be.
Cir`cuit m/.,¢d) Mchnn

file no. C§lg()&z

(Mu:l be compl¢r¢d)

 

 

SUMM_ONS
division
{Large counties only

Plaintiff (Nm¢.- Fzm, Mt¢ur¢, wo Det`endant avam¢.- Fim. mddl¢, mo
Thyssenl<rupp waupaca., Inc.. Thyssenl(rupp

Waupaca Group_Benefi-r.s plan.and Sun Life

Steven P. Stewart
rumei-a-l-Assur¢nee-€mnpeny-ef-€anade~_-

 

 

 

 

 

To: The~D¢f¢ndam Nam¢d Ab°V¢ 0 [Alrerna:ive l: residence address]
Thyseenlttupp w'aupaca by and through OEfice of the Corpora\:e

§ecrecary, THyssenK?Epp Waupa"'ca"", In€.'T§FS-B""_runne‘?°`l)'z‘v'a__*,

Waupaca, Wisconsi.n 549€1

O[At'¢¢rnative 2: employer ': name and addre.f_f]

 

 

O[Alt¢rnativ.e rather suitable addre.r.r]

 

 

 

You, are hereby commanded to answer and make defense to a Complaint which has
been filed in this ease. Your defense to this Complaint must be filed in the office of the
clerk of this court on or before 30 days after service of this Summons upon you. lf` you
fail to do so, judgment by default will be taken against you for the relief demanded in the

Complaint.

 

p.
werEssED andissu¢d this &‘l day of @L?)/»J

 

 

 

 

 

mt
@.»M'r
Name and Title of Clerk
By `
lij C£"#a n "
Deputy Clerk
Received this day
of , 20
/s/
Deputy Sheriff

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 4 of 18 Page|D #: 10

STATE OF TENNESSEE
COUNTY OF inc al i ga

l certify that the foregoing is a true and correct copy of the original Summons

issued in this case.
ZQINLJ¢» l ?m(g£i l mdl B‘EZ cap

Name and Title of Clerk

die &W,¢

Deputy Clerk-

OFFICER’S RETURN

l certify that l have served this Summons together with the Complaint as follows:

On , 20 , l delivered a copy of the
Summons and Compla-int to the Def`endant.

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 5 of 18 Page|D #: 11

IN THE CIRCUIT COURT OF
MCMINN COUNTY, TENNESSEE

 

 

 

 

sTEVEN P. sTEwART, )
)
Plainciff, ) JURY DEMAND
)
v. ) No.: 523 ¥2~3>
)
) DIVlSIoN
)
THYssENKRUPP wAuPA'cA, 1NC., )
THYssENIcRUPP wAUPAcA ) F|LED
GRoUP BENEFITS PLAN,- and )
SUN LIFE FINANCIAL ASSURANCE )
coMPANY oF cANADA, ) AUG' 2089
) l l,' `PI,L_
Defevdams- ) §§a%li¢ést,%?%i*€sx
BY~__M_“.__D.C.
CoMPLAINT /

COMES the Plaintiff, .Steven P. Stewart- (hereinaftcr “Plaintiff”), by and through
the undersigned counsel of record, and hereby brings the following Complaint against
Defendants ThyssenKrupp Waupaca, lnc. (her'einafter “ThyssenKrupp Waupaca”),
ThyssenKrupp Waupaca Group Beneiits Plan (hereinafter “ThyssenKrupp Waupaca
Benefits Plan”), and Sun Life Financial Assurancc Company of Canada (hereinafter “Sun
Life”), and states as follows: c

PARTIES

l. Pla.intiff is an adult resident of Bradley County, Tennessee.

2. Plaintiff’s claim for short-term disability benefits due in the instant matter is a
claim for breach of contract under the laws of the State of Tennessee and the State
of Wisconsin, because thc benefits due come from a salary continuation payroll
practices plan and/or policy and/or program, that is exempt from the Employee

Retirement Income Security Act (hereinatter “ERISA”) under 29 C.F.R. § 2510.3-

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 6 of 18 Page|D #: 12

l.

3. Plai_ntiff alleges upon information and belief that Defendant ThyssenKrupp
Waupaca was Plaintifi"s employer throughout the relevant time periods, is a
corporation duly authorized to transact business in this State, and is the party that
pays benefits out of its general assets under the short term disability salary
continuation payroll practices plan and/or policy and/or program

4. Plaintiff alleges upon information and belief that Defendant 'l`hyssenK.rupp
Waupaca additionally maintained other employee benefits to which Plaintiff may
be entitled if found entitled to short-tenn disability benefits

5. Plaintiff alleges upon information and belief that Defendant 'l`hyssenKrupp
Waupaca may be served with process at the following address: Office of the
Corporate Secretary, ThyssenKrupp Waupaca, Inc., 1955 Brunner Drive,
Waupaca, Wisconsin 54981.

6. Plaintiff alleges upon information and belief that Defendant ThyssenKrupp
Waupaca may also be served with process through its registered agent at the
following address: Corporation Service Company, 2908 Poston Avenue,
Nashville, Tennessee 37203.

7. Plaintiff alleges upon information and belief that Defendant ThyssenKrupp
Waupaca B'enefits Plan, is, and at all relevant times was, an “Employee Welfare
Benefit Flan" and/or “Sh'ort-T`erm Disability Program" (hereinafter collectively
referred "to as “Plan”) that provides, inter al-ia, short-term disability payroll

benefits that are “payroll practices" subject to state law.

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 7 of 18 Page|D #: 13

8. Plaintiff alleges upon information and belief that Defendant ThyssenKrupp
Waupaca is the Plan Adrninistrator of the Plan and may be served with process at
the following address: Plan Administrator, ThyssenK.rupp Waupaoa, Inc., 1955
Brunner Drive, Waupaoa, Wisconsin 54981.

9. Plaintiff worked for Defendant at the following location: 134 Waupaca Drive,
City of Etowa.h, Count-y of McMinn, State of 'l`ennessee 37331.

lO. Plaintiff alleges upon information and belief that Defendant Sun Life is an
insurance company authorized to transact the business of insurance in this State.

ll. Defenth Sun Life may be served with process by serving the Commissioner of
the Tennessee Department of Commeroe and Insurance, 500 James Robertson
Parl<way, Suite 660, Nashville, Tennessee 37243~1131.

12. Plaintiff alleges upon information and belief that Defendants 'l`hyssenKrupp
Waupaoa, and/or ThysscnKrup'p Waupaca Benefits Plan and/or Sun Life are the
parties obligated to determine eligibility for benefits under the Plan and
Defendant ThyssenK.tupp Waupaca is the party obligated to pay benefits out of its
general assets under the Plan;

13. Plaintiff alleges upon inforn'tation. and belief that the Plan is` self-funded by
Defendant ThyssenKrupp' Waupaca and benefits under this plan are paid directly
out of the general assets of ThyssenKrupp Waupaca such that there is no special
fund or trust ii'orn which benefits are paid.

14. 'l`he Plaintiff was employed by Defendant ThyssenKrupp Waupaoa, and was
thereby a participant or beneficiary of the Plan and is covered by a policy that

provides benefits under the Plan, said policy having, inter alia, the following

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 8 ot 18 Page|D #: 14

identifying ‘characteristics: Plan/Policy No. 93066 (hereinafter “Policy").
JURISDICTION AND VENUE

15. This is an action for damages for breach of contract regarding the failure to pay
benefits under a non-ERISA salary continuation payroll practice short-term
disability plan and/or policy and/or program and other related claims over which
this court has j urisdiction.

16. Venue is proper in McMinn County, Tennessee.

M

17. Plaintiff purchased the Policy from Defendants ThyssenKrupp Waupaca and/or
ThyssenKrupp Waupaca Benetits Plan and/or.Sun Life and said Policy was issued
and executed in the State of Tennessee and said Plan was administered to
employees of ThyssenKrupp Waupaca who resided and worked in the State of
Tennessee, including Plaintiff.

18.v The Policy paid non-work related illnesses or injuries that prevented Plaintiif
from performing his own occupation for up to twenty-four (24) months.

19. Plaintiff’s employment or “own occupaticn” at the time he purchased the Policy
and at the time he became disabled was a “pattern vault attendant.”

20. Plaintiff paid all premiums and has satisfied all the requirements for coverage
under the above Policy, which is a contract for a short-term disability salary
continuation payroll practice and/or plan and/or policy and/or program.

21. Plaintiff, while covered under the Plan and Policy, suffered, inter alia, severe
fatigue, severe arthralgias, insomnia, chronic back pain, bipolar disorder, and

polycythemia, which interfered with his ability to work, and ultimately caused

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 9 ot 18 Page|D #: 15

him to become-disabled

22. On or about April 14, 2008, Plain"tiff"s medical condition caused him to have a
complete inability to perform his own occupation, at which time she suffered a
significant loss of earnings

23. Sinoe on or about April l4, 2008, Plainti§ has had a complete inability to perform
his own occupation or any occupation such that she has been unable to earn any
income.

24. On or about June 2, 2008, Plaintiff` applied for benefits under the Plan and Policy
by submitting the requisite forms such as, e.g., an insured’s statement and work
and education history form, and subsequently submitted, inter alia, attending
physician statements from his treating physicians

25. On or about November lO, 2008, Defendants Thys'senKrupp Waupaca and/or
ThyssenKrupp Waupaca Benefits Plan and/or Sun Life sent Plaintiff a letter
explaining that it was unable to approve his claim for benefits beyond May 19,
2008,_ which meant that the balance of his claim for twenty-three (23) months of
short-term disability benefits had been denied.

26. Subsequent to December 18, 2008, Plaintiff retained counsel and through said
counsel has submitted, inter alia, medical 'records, attending physician statements,
medical opinion forms, and sworn statements from Plaintiff’ s treating physicians
which describe and explain the significant nature, extent and duration of his
impairments

27. On ~or about April 27, 2009, P`laintiff, through counsel, appealed the denial of his

claim.

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 10 ot 18 Page|D #: 16

28. On June 23, 2009, Defendants have determined that the original decision denying
his short-terra disability claim will be upheld.

29. Plaintiff has not received benefits under the Plan and/or Policy other than fi'orn
April 14,_ 2008, to May l9, 2008.

COUNT ONE
TENNESSEE BREACH QF COB[_I_' BACT
Plaintiff incorporates the~alleg'at'ion`s contained in paragraphs l through 29 as if
fully stated herein and further states that:

30. Under the laws of the State of Tennessee, Plaintiff was covered under the Plan
and Policy and said Policy constitutes a contract for a non-ERISA short-term
disability salary continuation payroll practice and/or plan and/or policy and/or
program.

31. Under the laws of the State of Tennessee, Plaintiff made a valid and timely claim
for benefits under the terms of the Plan and Policy and Defendants have refused to
pay.

32. Under the laws of the State of"l`ennessee, Plaintiff has paid all premiums and has
met all other conditions precedent to have a valid contract for a non-ERISA short-
terrn disability salary continuation payroll practice and/or plan and/or policy
and/or program and has satisfied the terms ofthe contract entitling him to benefits
under the contract.

33. Under the laws of the State of Tennessee, Defendants have breached, and
continue to breach, their contractual duties under the Plan and Policy by failing

and refusing to pay benefits owed the Plaintiff and by failing to perform their

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 11 ot 18 Page|D #: 17

duties as set.out in the contract..

34. Under the laws of the State of Tennessee,. as a direct and proximate result of
Defendants’ breach, Plaintiff has suffered, and continues to suffer, substantial
damages as previously set forth above'.

35. Plaintiff has suffered and continues to suffer from a disability as defined in the
Plan and Policy.

36. Plaintiff has complied with all conditions precedent to qualify for benths prior to
iiling suit.

37. Thyssen'Krupp Waupaca, as Plaintiff" s employer and as the plan administrator of
the Plan, under the terms of its contract, is indebted to Plaintiff for the disability
benefits due under the terms of the policy.

38. ThyssenKrupp Waupaoa, as Plaintift’s employer and as the plan administrator of
the Plan, has failed and refused to honor its obligations under the salary
continuation plan that would have provided benefits -to the Plaintiff.

COUNT TWO
WISCGNSIN BREACH OF CONTRACT
l’laintifi' incorporates the allegations contained in paragraphs l through 38 as if
fully stated herein and further states that:

39. Under the laws of the State of Wisconsin, Plaintiif'was covered under the Plan
and Policy and said Policy constitutes a contract for a non-ERISA short-term
disability salary continuation payroll practice and/or plan and/or policy and/or
program.

40. Under the laws of the State of Wisconsin, Plaintiff made a valid and timely claim

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 12 of 18 Page|D #: 18

for benefits under the terms of the Plan and Policy and Defendants have refused to
pay.

41. Under the laws of the State of Wisconsin, Plaintiff has paid all premiums and has
met all other conditions precedent to have a valid contract for a non-ERISA short-
terrn disability salary continuation payroll practice and/or plan and/or policy
and/or program and has satisfied the terms of the contract entitling him to benefits
under the contract

42. Under the laws of the State of Wisconsin, Defendants have breached1 and
continue to breach, their contractual duties under the I’la_n. and `Policy by failing
and refusing to pay benefits owed the Plaintiff` and by failing to perform their
duties as set out in the contract

43. Under the laws of the State of Wisconsin, as a direct and proximate result of
Defendants’ breach, Plaintiff has suffered, and continues to suffer, substantial
damages as previously set forth above.

44. Plaintiff has suffered and continues to suffer from a disability as defined in the
Plan and Policy,

45 . Plaintiff` has complied with all conditions precedent to qualify for benefits prior to
filing suit.

46.'['hyssenKn1pp Waupaoa, as Plaintiff’s employer and as the plan administrator of
the Plan, under the terms of its contract,- is indebted to Plaintiff for the disability

benefits due under the terms of the policy.

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 13 of 18 Page|D #: 19

47. 'l`hyssenKrupp Waupaoa, as Plaintiff's employer and as the plan administrator of
the Plan, has failed -.and refused to honor its obligations under the salary
condonation plan that would have provided bene§ts to the Plaintif£

_C.o_ul_~r_”r._T_M
TENNESSEE BAD FAITH FAILURE 10 PAY CLAIM
Plaintiff incorporates the allegations contained in paragraphs l through 47 as if
fiilly stated herein and further states that:

48. At all times relevant to -the matters alleged herein, Defendants were under a duty
to use good faith in the handling of Plaintiff"s claim.

49. Plaintiff's claim for benefits is due and payable and Plaintiff"s application was
filed on o`r about June 2, .2008, which constitutes a formal demand for payment,
and Defendants have either failed or refused to pay further benths.

50. Defendants impeded a legitimate and well-supported claim for benefits, which
clearly shows intent not to honor the terms of the Plan and Policy.

51. Defendants acted in bad faith in denying benefits to Plaintiff or in failing to timely
make a decision on Plain`tiff’s` claim.

52. As a direct and proximate result of Defendants’ actions in handling this claim,
either jointly or separately, Plaintiff has suffered, and continues to suffer,
monetary loss and damages, including the need to hire an attorney to enforce the
terms of a contract for a non-ERISA short-term disability salary continuation
payroll practice and/or plan and/or policy and/or program.

53. Because Defendants did not act in good faith in denying Plaintiff’s claim for

benefits, Defendants are liable under Tennessee Code Annotated § 56-7-105(a)

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 14 of 18 Page|D #: 20

for additional damages in an amount up to 25% of liability.
COUNT FOUR

WISCONSIN BAD FAITH FAILURE TO PAY CLAIM

Plaintiff incorporates the allegations contained in paragraphs l through 53 as if
tdlly stated hereinfand further states that:

54. At all times relevantto the matters alleged herein, Defendants were under a duty
to use good faith in the handling ofPlaintiff’s claim.

55. Plaintift’s claim for benefits is due and payable and Plaintiff‘s application was
filed on or about June 2, 2008, which constitutes a formal demand for payment,
and Defendants have either failed or refused to pay further benefits

56. Defendants impeded a legitimate and well-supported claim for benths, which
clearly shows._intent not to honor the terms of the Plan and Policy.

57. Defendants acted in bad faith in denying benefits to Plaintiff or in failing to timely
make a decision on Plaintiii_"s claim.

58. As a direct and proximate result of Defendants’ actions in handling this claim,
either jointly or separately, P.laintiff has suffered, and continues to suffer,
monetary-loss and damages, including the need to hire an attorney to enforce the
terms of a contract for a non-ER.ISA short~tcrm disability salary continuation
payroll practice and/or plan and/or policy and/or program.

59. Because Defendants did not act in good faith in denying Plaintift’s claim for
benefits, Defendants are liable under the appropriate _and applicable laws of the
State of Wisconsin, including, inter alia, State Farm Fire & Cas. Ins. Co. v.

Walke;, 459 N.W§2d 605,_ 608 (Wis. Ct. App. 19`90), which established that a

Case 1:09-CV-00260-CLC-WBC Document 1-1 Filed 09/30/09 Page 15 of 18 Page|D #: 21

fiduciary and/or insurer has a duty to exercise good faith in processing a claim,
that in cases where there is a delay in processing, bad faith exists where the
insurer’s obligation to pay a claim is not fairly debatable, and that punitive
damages may be imposed if there is a showing of an evil intent deserving of
punishment, or special ill-will, o_r wanton disregard of duty, or gross or
outrageous conduct, where such award of additional damages will be in an
amount to be determined by an appropriate adjudicating body.
COUNT FIVE
VIOLATION OF THE TENNESSE§ CONSUMER §ROTECTION ACT
'I‘ENNESSEE CODE ANNOTATED § 47-18-101 AND § 47-18-109.

Plaintiff incorporates the allegations~. contained in paragraphs 1 through 59 as if
fully stated herein and says further that:

60. Tennessee Code Annotated § 47-18-109 provides a private right of action to any
person who suffers an ascertainable loss of money or property as a result of the
use or employment by another person of an unfair or deceptive act or practice
declared unlawful by the Consumer Protection Act.

61. The acts which are prohibited under the Consumer Protection Act are listed in
Tennessee Code Annotated § 47-18-104. In addition -to specifically prohibited
acts, Tennessee Code Annotated §' '47-18'-104(b)(27) is a catch-all provision
prohibiting all practices which are deceptive or unfair to customers.

62. By ignoring the terms of the short-term disability connact, by failing to
adequately communicate with the Plaintiff, and by giving the Plaintiff inadequate

or misleading information about his'claim, the Defendants have acted unfairly and

Case 1:09-CV-OO260-CLC-WBC Document 1-1 Filed 09/30/09 Page 16 of 18 Page|D #: 22

deceptively.

63. As a direct and proximate result of the Defendants’ conduct, Plaintiff has suffered
and continues to suffer monetary loss and damages

64. Through its handling of Plaintiffs claim, the Defendants have willfully and
knowingly violated the Tennessee Consurner Protection Act, Tennessee Code

Annotated § 47~18~101 et seq., entitling Plaintiif to treble damages.

PRAYER FO`R RELIEF

WHEREFORE, Plaintiff requests that this Court grant him the following relief in
this case:

That the Court enter judgment in favor of Plaintiff and against Defendants and
that the Court order Defendants to perform their obligations under the contract and to pay
past due benefits to Plaintiff` in an amount equal to the contractual amount of benefits to
which he is entitled;

That the Court order Defendantsy to pay Plaintiff prejudgment interest on all
benefits that have accrued prior to the date of judgment;

That the Court order Defendants to continue paying benefits to Plaintiff` until such
time as he no longer qualifies for continuation of benefits;

That the Court order Defendants. to pay an additional 25% of the contractual
liability for bad faith handling of the claim,. pursuant to Tennessee Code Annotated § 56-
7-105(a) and applicable and appropriate laws of the State of Wisconsin, including, inter

alia, State Farm Fire & Cas. lns. Co. v. Walker 459 N.W.Zd 605, 608 (Wisc. App.

 

1990), which prohibit bad faith handling of a claim arising out of a contract;

That the Court order Defendants to pay treble damages pursuant to Tennessee

Case 1:09-CV-OO260-CLC-WBC Document 1-1 Filed 09/30/09 Page 17 of 18 Page|D #: 23

Constuner'Protec`tion Act, Tennessee Code Annotated § 47-18-101 et seq., which prohibit
practices which are deceptive or unfair'to customers;

That the Court order Defendants to pay PlaintiH’s attorneys fees and costs under
applicable Tennessee law and Wisconsin law, and,

That Plaintiff recover any and all other relief to which he may be entitled.

Plaintifl` further demands a jury to hear his case.

Dated thi$:’“/ day ofAugust 2009.

Respectfully submitted,

ERIC BUCHANAN & ASSOCIATES, PLLC

 

Chattanooga, Tenne see 37402
(423) 634-2506
(423) 634»2505 (fax)

Case 1:09-CV-OO260-CLC-WBC Document 1-1 Filed 09/30/09 Page 18 of 18 Page|D #: 24

